Case 2:05-cr-20202-.]PI\/| Document 13 Filed 06/16/05 Page 1 of 2 Page|D 34

IN THE UNITED sTATEs DISTRICT COURT F"“~ED iii di - D-C-
FoR THE WESTERN DISTRICT oF TENNESSE
WESTERN DIvISIoN 155 JUN ¥6 PH h= 50

 

era "ssz'sTiVi,iJ
UNITED STATES or AM;ERICA §§ WD 0€= w MEMPHFS

V.

ROSCOE DIXON 05cr20202-01-Ma

 

ORDER ON ARRAIGNl\/[ENT

 

This cause came to be heard on 0 "" the United States Attorney
for this district appeared on behalf of the government, and the defendant appeared in person and with
counsel:

NAM'E M,Lfcf BAJHH who is Rerained/Appoimed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

z The defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal.
g nunn ad

UNITED STATES MAGISTRATE ]UDGE

CHARGES: interfere With commerce by threat or Violence - 18:1951
Attorney assigned to Case: T. DiScenza
Age:

This docl.ment entered on the docket sheet In compl|ance
with R.lle 55 and/or 32fbl FRC:P on

 
 

UNITED sTATE DRISTIC COURT - WESTERN D'S'TRCT oFTENNESSEE

   

Notice of Distribution

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case 2:05-CR-20202 Was distributed by faX, mail, or direct printing on
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Honorable .1 on McCalla
US DISTRICT COURT

